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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                     Plaintiff,

                                                                   DECISION AND ORDER

                                                                   99-CR-6072L
                                                                   05-CV-6521L
                      v.

ROLAND ONAGHINOR,



                              Defendant.
________________________________________________


       Defendant Roland Onaghinor was convicted of conspiracy to distribute heroin. On May 16,

2002, defendant was sentenced to 78 months imprisonment.

       On October 3, 2005, acting pro se, Onaghinor filed this motion pursuant to 28 U.S.C.

§ 2255. At the time the petition was filed, Onaghinor’s direct appeal to the Second Circuit was

pending.

       In a decision dated January 30, 2007, the Second Circuit affirmed this Court’s decision

declining to resentence defendant under the procedures announced in United States v. Crosby, 397

F.3d 103 (2d Cir. 2005).

       In the Second Circuit’s decision, the Circuit noted that defendant Onaghinor has served his

sentence and has been deported. The Second Circuit determined that in light of the deportation,

Onaghinor’s appeal was moot based on the fact that he had served his sentence, has been convicted
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of a drug crime and there is virtually no chance that he would be legally returned to the United

States.

          For the same reasons, I find that Onaghinor’s petition under 28 U.S.C. § 2255 is also moot

and should be dismissed.



                                           CONCLUSION

          The petition of Roland Onaghinor to vacate and correct the Judgment and Sentence filed

October 3, 2005 (Dkt. #248) pursuant to 2255 is in all respects dismissed.

          IT IS SO ORDERED.



                                        _______________________________________
                                                 DAVID G. LARIMER
                                               United States District Judge


Dated: Rochester, New York
       February 8, 2007




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